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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 1:21-CV-21079-Bloom


 SECURITIES AND EXCHANGE COMMISSION,

        Plaintiff,

 v.

 MINTBROKER INTERNATIONAL, LTD.,
 f/k/a SWISS AMERICA SECURITIES LTD.
 and d/b/a SURETRADER, and
 GUY GENTILE, a/k/a GUY GENTILE NIGRO,

       Defendants.
 ___________________________________________/

 UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE MOTION TO COMPEL
                UNDER S.D. FLA. LOCAL RULE 26.1 (g)(1)

        Plaintiff Securities and Exchange Commission hereby moves for a 30 day extension to file

 a Motion to Compel Responses to its Request for Production. In support, the SEC states:

        1.      The SEC served a Request for Production on Defendant Guy Gentile on May 6,

 2022. Defendant Gentile filed his responses and objections to the Request on June 6, 2022. In his

 Response to the SEC’s Request, Gentile objected to 48 of 49 of the Requests. Gentile has not yet

 produced any documents in response to the Request. Nor has he filed a privilege log in support of

 many of his objections.

        2.      Under Local Rule 26.1(g)(1), the SEC’s deadline for filing a Motion to Compel is

 July 13, 2022 (this date includes 30 days plus 7 additional days per the agreement of the parties,

 as allowed under the rule). The parties met and conferred in order to try to resolve the objections

 made in Response to the Request for Production but need additional time to resolve the issues.

 Gentile has agreed to use any extension to amend some of his objections and to provide documents

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 that may resolve some of the production issues. Thus, the SEC requests an extension of 30 days

 for it to file a Motion to Compel relating to its Request for Production to Gentile, should such a

 motion be ultimately necessary.

        3.        This request is made for purposes of streamlining the issues presented in any

 Motion to Compel and not for purposes of delay. In making this request, the SEC seeks to preserve

 the Court’s and the parties’ time by avoiding unnecessary discovery disputes, if they can be

 resolved, but the parties need more time to work on such resolutions.

        4.        Thus, the SEC moves for a 30 day extension, up to and including August 12, 2022,

 in which to file a Motion to Compel Responses to the Request for Production to Gentile.

                        RULE 7.1.A.3 CERTIFICATE OF CONFERRAL

        Pursuant to Southern District of Florida Local Rule 7.1.A.3, undersigned counsel conferred

 with counsel for Defendant Gentile, who has no objection to such extension and agrees to the relief

 sought herein.

 July 12, 2022                               Respectfully submitted,

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